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                                   #:162


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      Attorneys for Defendants Liane M. Randolph,
  9   Steven S. Cliff, and Robert A. Bonta
 10
 11                     IN THE UNITED STATES DISTRICT COURT
 12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
 13
 14   CHAMBER OF COMMERCE OF                   Case No. 2:24-cv-00801-FMO-PVCx
      THE UNITED STATES OF
 15   AMERICA, CALIFORNIA                      DEFENDANTS’ NOTICE OF
      CHAMBER OF COMMERCE,                     MOTION AND MOTION TO
 16   AMERICAN FARM BUREAU                     DISMISS PLAINTIFFS’
      FEDERATION, LOS ANGELES                  AMENDED COMPLAINT FOR
 17   COUNTY BUSINESS                          DECLARATORY AND
      FEDERATION, CENTRAL                      INJUNCTIVE RELIEF
 18   VALLEY BUSINESS
      FEDERATION, and WESTERN                  Date:         June 20, 2024
 19   GROWERS ASSOCIATION,                     Time:         10:00 a.m.
 20                                Plaintiffs, Courtroom:
                                               Judge:
                                                             6D
                                                             The Honorable Fernando
                  v.                                         M. Olguin
 21                                            Trial Date: Not Set
      LIANE M. RANDOLPH, in her                Action Filed: 1/30/2024
 22
      official capacity as Chair of the
 23   California Air Resources Board, and
      STEVEN S. CLIFF, in his official
 24   capacity as the Executive Officer of
      the California Air Resources Board,
 25   and ROBERT A. BONTA, in his
      official capacity as Attorney General
 26   of California,

 27                              Defendants.

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  1          TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF
  2   RECORD:
  3          PLEASE TAKE NOTICE that on June 20, 2024, at 10:00 a.m., or as soon
  4   thereafter as the matter may be heard, Defendants Liane M. Randolph, in her
  5   official capacity as Chair of the California Air Resources Board, Steven S. Cliff, in
  6   his official capacity as Executive Officer of the California Air Resources Board,
  7   and Robert A. Bonta, in his official capacity as Attorney General of California
  8   (Defendants), by and through their undersigned counsel, will, and hereby do, move
  9   this Court for an order dismissing the Amended Complaint of Plaintiffs Chamber of
 10   Commerce of the United States of America, California Chamber of Commerce,
 11   American Farm Bureau Federation, Los Angeles County Business Federation,
 12   Central Valley Business Federation, and Western Growers Association, under:
 13          1.   Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter
 14   jurisdiction as to the second and third claims against Defendants;
 15          2.   Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon
 16   which relief can be granted as to the second and third claims against Defendants;
 17   and
 18          3.   Federal Rule of Civil Procedure 12(b)(1) for Eleventh Amendment
 19   immunity as to all claims against Defendant Robert A. Bonta, in his official
 20   capacity as Attorney General of California.
 21         This motion will be made before the Honorable Fernando M. Olguin, United
 22   States District Judge, First Street United States Courthouse, 350 W 1st Street, Los
 23   Angeles, CA 90012, Courtroom 6D, 6th Floor.
 24          This motion is made upon this Notice of Motion, the accompanying
 25   Memorandum of Points and Authorities, the concurrently filed Request for Judicial
 26   Notice and attached papers, all pleadings, records, and other documents on file with
 27   the Court in this action, and other such written and oral argument as may be
 28   presented to the Court.
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  1          This motion is made following the conference of counsel pursuant to L.R. 7-
  2   3 and the Standing Order of this Court, which took place on March 19, 2024.
  3
  4   Dated: March 27, 2024                          Respectfully submitted,
  5                                                  ROB BONTA
                                                     Attorney General of California
  6                                                  GARY E. TAVETIAN
                                                     MYUNG J. PARK
  7                                                  Supervising Deputy Attorney General
                                                     M. ELAINE MECKENSTOCK
  8                                                  EMILY HAJARIZADEH
                                                     DYLAN REDOR
  9                                                  Deputy Attorneys General
 10
 11                                                  /s/ Caitlan McLoon
 12
                                                     CAITLAN MCLOON
 13                                                  Deputy Attorney General
                                                     Attorneys for Defendants Liane M.
 14                                                  Randolph, Steven S. Cliff, and Robert
                                                     A. Bonta
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                               CERTIFICATE OF SERVICE


 Case Name: Chamber of Commerce of the United States of America, et al.
            v. Liane M. Randolph, et al.

 Case No.:            2:24-cv-00801-FMO-PVCx


 I hereby certify that on March 27, 2024, I electronically filed the following
 documents with the Clerk of the Court by using the CM/ECF system:

    DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS
    PLAINTIFFS’ AMENDED COMPLAINT FOR DECLARATORY AND
                     INJUNCTIVE RELIEF

 I certify that all participants in the case are registered CM/ECF users and that
 service will be accomplished by the CM/ECF system.

 I declare under penalty of perjury under the laws of the State of California and
 the United States of America the foregoing is true and correct and that this
 declaration was executed on March 27, 2024, at Los Angeles, California.



                 Beatriz Davalos                      /s/ Beatriz Davalos
                   Declarant                               Signature


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